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     UNITED STATES DISTRICT COURT                            In its Order adopting the R&R, the Court
     SOUTHERN DISTRICT OF GEORGIA                       recognized the duty of counsel to "consult"
         STATESBORO DIVISION                            with his client and make a reasonable effort to
                                                        determine whether his client wished to appeal.
                                                        Doc. # 17 at 2 (citing Roe v. Flores-Ortega,
HOMER HOLLOWAY,                                         528 U.S. 470, 477 (2000)). While it was a
                                                        close call, the Court concluded that the efforts
Movant,                                                 taken by Holloway's trial counsel were not
                                                        sufficient. Id. at 3. Nevertheless, the Court
v.                         608CV100                     denied Holloway's motion, noting he "must
                           606CRO26                     demonstrate that there is a reasonable
                                                        probability that but for counsel's deficient
UNITED STATES OF AMERICA,                               failure to consult with him about an appeal, he
                                                        would have timely appealed" Id. (quoting
Respondent.
                                                        Flores-Ortega, 528 U.S. at 484).
                                                           The Court concluded that Holloway had
                       ORDER                            not met this burden, reasoning:
     This Court previously denied Homer                   Holloway's objections do not point to
Holloway's 28 U.S.C. § 2255 motion to                     any issues that he would raise on appeal.
vacate, set aside, or correct his federal prison          Additionally, the Court does not see any
sentence. Doc. # 17. Before the Court is                  substantial reasons why Holloway
Holloway's motion to alter or amend that                  would have appealed what appears to
judgment pursuant to F.R.Civ.P. 59. Doc. #                have been a very favorable outcome for
 19.                                                      him. Holloway acknowledged that
     This Court sentenced Holloway to 156                 Garrett negotiated an excellent plea
months in prison for violating 21 U.S.C. § 846            agreement on his behalf. Doc. # 14 at 2.
(conspiracy to possess with intent to distribute          Garrett had rejected the government's
cocaine base and cocaine hydrochloride)                   first offer (which exposed Holloway to a
pursuant to a guilty plea. 606CR026, doc. #               20-year minimum sentence) for a more
704. In his § 2255 motion, Holloway alleged               favorable agreement (which exposed
that his retained counsel, Michael Garrett, was           Holloway to a 20-year maximum
ineffective for failing to file an appeal on his          sentence). Id. at 2 n.2. Furthermore,
behalf following the sentencing, despite                  Holloway's sentence of 156 months was
Holloway's request for Garrett to do so. Doc.             a downward departure from the
# 1 at 4. He thus sought leave to file an out-            guideline range of 188 to 235 months.
of-time appeal. After the magistrate judge                6:06CR026, doc. ## 696, 865. Lastly,
issued his report and recommendation (R&R)                Garrett testified that he saw no
concluding that Holloway had not expressly                meritorious grounds for an appeal and
instructed his counsel to appeal his sentence,            that he would have filed an Anders brief
Holloway objected, arguing that his attorney              if Holloway had directed him to appeal
had an affirmative duty to determine whether              his conviction and sentence. Doc. # 14
Holloway wanted to appeal.                                at 4.
                                                        Id. at 4. Holloway now alleges a variety of
                                                        grounds upon which he would have appealed.
   All docket-entry citations are to 608CV100, unless
otherwise specified.
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   A motion for reconsideration cannot be             participant, as had been agreed to in his plea
   used to "relitigate old matters, raise             agreement. His counsel contends,
   argument or present evidence that could            "Unfortunately, prior to the filing of the
   have been raised prior to the entry of             sentencing transcript on June 18, 2009, none
   judgment." Michael Linet, Inc. v.                  of the publicly-filed and available documents
    Village of Wellington, Fla., 408 F-3d             in Holloway's criminal case revealed that this
   757, 763 (11th Cir. 2005). This                    condition of the plea agreement was not
   prohibition includes new arguments that            accepted by the Court at sentencing." Doe. #
   were "previously available, but not                30 at 5. Indeed, upon review of the sentencing
   pressed." Stone v. Wall, 135 F. 3d 1438,           transcript, this Court did not accept this
    1442 (11th Cir.1998) (per curiam) [1 . A          condition of the plea agreement and ruled
   district court has sound discretion                against granting Holloway minor participant
   whether to alter or amend a judgment               status over defense counsel's objections. See
   pursuant to a motion for reconsideration,          606CR026, doc. # 955 at 5-20.
   and its decision will only be reversed if              Holloway's next argument relates to the
   it abused that discretion. See 0 'Neal v.          drug quantity that was used to calculate his
   Kennamer, 958 F.2d 1044, 1047 (11th                sentence. Holloway was indicted for
   Cir. 1992). Denial of a motion to amend            conspiracy "to possess with intent to
   is "especially soundly exercised" when             distribute, and to distribute, 50 grains or more
   a party gives no reason for not                    of cocaine base (crack) and 5 kilograms or
   previously raising an issue. Id.                   more of cocaine hydrochloride (powder)...."
   (quotation marks and citation omitted).            606CR026, doc. # I at 2. Holloway pled
Wikhombe v. Tee Fee Toons, Inc., 555 F.3d             guilty to a "lesser included offense of that
949, 957 (11th Cir. 2009).                            count," whereby no "drug quantity threshold
    Holloway asserts that neither he nor his          [was] alleged for penalty enhancing
appointed habeas counsel, Daniel G. Ashburn,          purposes." 606CR026, doc. # 868 at 7
had access to Holloway's Presentence                  (emphasis omitted). Holloway's sentence was
Investigation Report (PSI), nor did either of         calculated based on the recommendation in his
them possess a copy of the transcript of              PSI that at least 15 but not more than 50
Holloway's sentencing hearing. Doc. # 30 at           kilograms of powder be attributed to him.
3. Having now received a copy of the PSI and          Thus, Holloway complains that "[his]
the sentencing transcript, Holloway (or more          sentence was ultimately calculated based upon
accurately, his appointed habeas counsel) says        a higher quantity of drugs than stated in the
that he is able to demonstrate that there is a        indictment, even though the plea agreement
reasonable probability that, but for trial            specified that the guilty plea only constituted
counsel's deficient failure to consult with him       proof of a lesser-included offense...." Doe. #
about an appeal, Holloway would have timely           30 at 7 (emphasis in original). In other words,
appealed.                                             Holloway argues, if he was indicted for 5
                                                      kilograms or more, but was sentenced based
   Holloway admits satisfaction with the plea         on 15 to 50 kilograms, what was the point of
agreement that his previous counsel struck.           his pleading guilty to an unspecified quantity
Rather, he claims that he did not receive the         of drugs?
sentence that he expected under that
agreement. Specifically, his sentence did not             Despite Holloway's contention that his
reflect a two-level reduction under the               trial counsel should have objected to this, the
sentencing guidelines for his role as a minor         Court sees nothing objectionable. Holloway
                                                      was indicted for 5 kilograms or more of
                                                  2
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cocaine. Had he been found guilty of this, he                   counsel objected to this ruling, but the Court
would have faced a statutory mandatory                          relied on the First Circuit's opinion in United
minimum sentence of 10 years, 20 years, or                      States v. Yates, 973 F.2d 1 (1st Cir. 1992) in
even life, as outlined in 21 U.S.C. §                           finding the crimes unrelated, and it overruled
841(b)(1)(A). By pleading guilty to "a                          that objection. However, this ruling could
quantity" of drugs, Holloway avoided these                      arguably constitute an issue to be raised on
statutory mandatory minimums and was                            appeal.
sentenced pursuant to 21 U.S.C. 841(b)(1)(C)                        The Court concludes that Holloway has
which carries a statutory maximum sentence of                   demonstrated a reasonable probability that he
20 years (or 30 years if there is a prior felony                would have appealed had his retained guilty
drug conviction).                                               plea counsel, Michael Garrett, more
    Thus, Holloway received the benefit of the                  thoroughly consulted with Holloway
bargain he struck in his plea agreement. The                    regarding his desire to appeal. This
plea agreement does not bind the hands of the                   conclusion is further supported by the fact that
Probation Office, which drafts the PSI, from                    an out-of-time appeal is the only remedy that
attributing a specific quantity of drugs to                     Holloway seeks through his § 2255 motion.
Holloway for the purpose of applying the                        The Court emphasizes any failure by Garrett
Sentencing Guidelines. See doe. # 868 at 8                      to adequately consult with Holloway appears
(Plea Agreement) ("The defendant                                to have resulted from a break-down in
understands that the offense level and criminal                 communication between a lawyer and his
history category determined by the United                       client which will inevitably happen if one
States Probation Office and the Court may                       practices law long enough. The Court further
differ from that estimated or projected by                      notes that Garrett defended Holloway
defendant's counsel or the United States                        commendably throughout his representation.
Attorney.") However, the question before the                        Furthermore, Holloway's current court
Court is not whether Holloway's issues on                       appointed habeas counsel, Daniel G. Ashburn,
appeal would have merit. Rather, the Court is                   filed a timely motion to alter this Court's
only concerned with whether there was a                         previous denial of Holloway's motion for an
reasonable probability that Holloway would                      out-of-time appeal. Doe, # 19. While this
have appealed had he been given the chance to                   Court has high expectations of all counsel who
do so. If Holloway misunderstood what he                        come before it and expects them to be fully
was agreeing to in his plea agreement, then his                 familiar with the facts of their clients' cases,
assertion that he would have appealed his                       the Court does recognize that the PSI and
sentence gains credibility. 2                                   sentencing transcript were unavailable here,
    Finally, Holloway challenges the Court's                    and also that Ashburn, as habeas counsel, was
legal ruling that two of his prior offenses did                 unfamiliar with Holloway's sentencing
not constitute "related offenses," which                        proceedings. Thus, in the interests of justice
resulted in an increase in his criminal history                 and in light of the new facts that have arisen
category under the Federal Sentencing                           with the disclosure of the PSI to Holloway and
Guidelines. Doe. # 30 at 9-10. Holloway's                       the transcription of the sentencing hearing, the
                                                                Court finds Rule 59 relief appropriate.
  On the other hand, had Holloway voiced these
                                                                   The Court GRANTS Holloway's motion
concerns to his counsel at sentencing, the Court expects        to alter this Court's previous judgment
that his counsel would have explained away any                  denying Homer Holloway's 28 U.S.C. § 2255
confusion and informed Holloway that this was not a             motion. Doe. # 19. In accordance with the
meritorious ground for appeal.

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Eleventh Circuit's procedure for granting an
out-of-time appeal, see United States v.
Phillips, 225 F.3d 1198, 1201 (11th Cit
2000), the Court AMENDS its prior § 2255
Order and Judgment, doc. ## 17, 18, to
provide for the following remedy: The
Judgment in Holloway's underlying criminal
case (606CR026, doc # 704) is VACATED.
Simultaneous with the entry of this Order, the
Court is entering a new Judgment and
Commitment Order (J&C) reimposing the
same sentence, identical in all respects to the
Original J&C (606CR026, doc. # 704), save
only for the date of entry.
    The Court HEREBY ADVISES Holloway
that with the entry of the new J&C, be shall
have all the rights associated with an appeal
from any criminal sentence. As it is clear that
Holloway wishes to appeal, the Clerk of the
Court shall file a notice of appeal on
Holloway's behalf upon entry of the new
J&C. The government may also file an appeal
from this sentence.
    The Court also advises Holloway that he is
entitled to the assistance of counsel in taking
an appeal. Accordingly, the Court DIRECTS
that Daniel G. Ashburn, the attorney
appointed to represent Holloway in the § 2255
proceeding, continue to serve as Holloway's
counsel for the purpose of filing and
prosecuting the direct appeal of his criminal
case. By copy, Ashburn is informed of this
Order and Holloway's concomitant rights.



This 27th day of July 2009.


 I,
 B. AVANT PDNF1PL, JTJ1X31
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF OBORGIA




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